           Case 4:21-cv-05095-SAB                     ECF No. 1-10          filed 06/21/21      PageID.82 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                     Eastern District
                                                     __________ DistrictofofWashington
                                                                             __________

3E PROPERTIES, a Wshington general partnership; and                     )
EASTERDAY FARMS PRODUCE, CO., a Washington                              )
corporation,                                                            )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                               Civil Action No. 2:21-cv-196
                                                                        )
RABO AGRIFINANCE LLC, a Delaware limited liability                      )
company, fka Rabo Agrifinance, Inc.,                                    )
                                                                        )
                                                                        )
                           Defendant(s)                                 )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Rabo AgriFinance LLC
                                           c/o Corporate Creations Network Inc., Registered Agent
                                           505 W. Riverside Avenue, Suite 500
                                           Spokane, WA 99201-0518




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Russell D. Garrett                            Michelle A. Green
                                           Daniel L. Steinberg                        Gatens Green Weidenbach PLLC
                                           Jordan Ramis PC                            305 Aplets Way
                                           1499 SE Tech Center Place, Ste. 380         Cashmere, WA 98815-1012
                                           Vancouver, WA 98683


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                    CLERK OF COURT




Date                                                                               SEAN F. McAVOY, Clerk
             Case 4:21-cv-05095-SAB                      ECF No. 1-10      filed 06/21/21          PageID.83 Page 2 of 2

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 Civil Action No. 2:21-cv-196

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                          .

           ’ I personally served the summons on the individual at (place)
                                                                                      on (date)                            ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                           , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                      on (date)                            ; or

           ’ I returned the summons unexecuted because                                                                                   ; or

           ’ Other (specify):
                                                                                                                                                .


           My fees are $                           for travel and $                       for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.




 Date                                                            Server’s signature



                                                                 Printed name and title




                                                                 Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                           Reset
